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                                        EXHIBIT V

    LIST OF ASBESTOS-CONTAINING MATERIALS MANUFACTURED BY THE SPHC PARTIES




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Product Name                  Product Also Known As            Years Product Was Sold

Dramex Interior Finish        •   Dramex Texture Paint         1948-1977
                              •   Trax Texture Paint
                              •   Ward's Texture
                              •   Dramex Spanish Texturing
                                  Paint
                              •   Penncraft Texture Paint

Dramex Ready Mixed Interior   •   Dramex Ready Mixed           1957-1977
Finish                            Texture Paint
                              •   FO Pierce Dramex
                              •   Metro Interior Finish
                              •   Metro Texturing
Bondex Water Putty            •   Reardon's Water Putty        Unknown -1977
                              •   Reardon's Wood Putty
                              •   Penncraft Water Putty
                              •   Ward's Wood Putty
Bondex Multi-Patch                                             Unknown-1977

Bondex SX Joint Cement        •   Reardon's SX Joint           Unknown-1977
                                  Cement
                              •   Trax Joint Cement
                              •   Penncraft Joint Cement
                              •   NPD SX Joint Cement
                              •   NPD SX Joint Cement
                                  Combination
                              •   Hi & Dri Joint Cement
Bondex SX Topping Cement      •   Reardon's SX Topping         Unknown-1977
                                  Cement
                              •   Trax Topping Cement
                              •   Hi & Dri Topping Cement




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Product Name                 Product Also Known As             Years Product Was Sold

Bondex Joint Compound All    •    Reardon's All Purpose      Unknown-1977
Purpose                           Joint, Topping and Texture
                                  Paint
                             •    Reardon's 500-C All
                                  Purpose Joint Cement
                             •    NPD All Purpose Joint
                                  Cement
                             •    Cooks Lifeline All
                                  Purpose Texture Joint and
                                  Topping Cement
                             •    "Our Best Grade" Joint
                                  Cement
                             •    GSA Joint Compound
                             •    Reardon's All Purpose
                                  Joint Cement
                             •    Bondex 200-B All Purpose
                                  Joint Cement
                             •    Bondex 500C All Purpose
                                  Joint Cement
                             •    Bondex Premium Joint
                                  Compound
                             •    100a All Purpose Joint
                                  Compound
Bondex Pre-Mixed Joint       •    Reardon's Ready-Mixed        Unknown-1977
Compound                          Joint Cement
                             •    Reardon's Pre-Mixed Joint
                                  Cement
                             •    Ward's All Purpose Joint
                                  Cement (Ready-Mixed)
                             •    Penncraft Pre-Mixed Joint
                                  Cement
                             •    Brod Dugan Red-I-Mix
                                  Joint Cement
Bondex Block Filler and      •    Reardon's Block Filler and   Unknown-1977
Primer                            Primer




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Product Name                 Product Also Known As           Years Product Was Sold

                             •    Penncraft Block Filler
Bontone Acrylic Fibred       •    Bontone Fibred Masonry     1968-1974
Coating                           Coating

Bondex Heavy Duty Liquid     •    Alumanation 301            1967-1981
Aluminum Roof Coating
                             •    Alumanation 350
                             •    Mobile Home Aluminum
                                  Roof Coating
Bondex (Bondek) Black        •    Perma-Plastic              1968-1981
Plastic Roof Cement

Bondex (Bondek) Black        •    Permaroof                  1968-1981
Mastic Roof Coating

Stays White Mobile Home                                      1972-1981
Roof Coating

Bondex Handy-Patch All       •    Reardon's Handy Patch All 1967-1977
Purpose Patcher                   Purpose Patcher, Formula
                                  1031




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